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 1   JESSE S. FINLAYSON, SBN 179443
     jfinlayson@ftrlfirm.com
 2   15615 Alton Parkway, Suite 250
 3   Irvine, CA 92618
     Telephone: 949.759.3810
 4   Facsimile: 949.759.3812
 5   Court-Appointed Chapter 11 Examiner
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 8
                           UNITED STATES BANKRUPTCY COURT
 9
                           SOUTHERN DISTRICT OF CALIFORNIA
10
      In re                               )          Case No.: 18-06044-LT11
11                                        )
      JESSE WAYNE DAWBER,                 )          [Jointly Administered with Case
12                                        )          No. 19-00293-LT11]
                   Debtor in Possession.  )
13                                        )          EX PARTE APPLICATION FOR
                                          )          ORDER AUTHORIZING
14                                        )          TRUSTEE TO EMPLOY OFFICE
                                          )          OF C. R. BARCLAY, CPA AS
15                                        )          ACCOUNTING CONSULTANT;
      JESSE DAWBER, an individual,        )          AND EXHIBITS
16                                        )
                   Case No. 18-06044-LT11 )
17                                        )
      CLASS WAR, INC., a California       )
18    Corporation,                        )
                                          )
19                 Case No. 19-00293-LT11 )
                                          )
20                 Debtors.               )
                                          )
21    [x] Affects both Debtors.           )
      [ ] Affects Class War only.         )
22    [ ] Affects Jesse Dawber only.      )
                                          )
23

24   TO THE HONORABLE LAURA S. TAYLOR, UNITED STATES BANKRUPTCY
25   JUDGE:
26      The applicant, Jesse S. Finlayson ("Applicant” or “Examiner"), court-appointed Chapter
27   11 Examiner of the chapter 7 estate of Jesse Wayne Dawber ("Debtor"), applies to this Court
28   for an Order, authorizing the employment of Office of C. R. Barclay, CPA (“OoCRB”) as his

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 1   accounting consultant effective May 24, 2019. Pursuant to Bankruptcy Rule 2012(a), the
 2   Applicant respectfully represents as follows:
 3          1.      The Debtor filed a voluntary Chapter 11 bankruptcy petition on October 8,
 4   2018, (the "Petition Date"). Pursuant to court order entered on February 7, 2019, the Court
 5   directed joint administration of related cases with the case of Class War, Inc., Case No. 19-
 6   00293-LT11.
 7          2.      On May 7, 2019, Jesse S. Finlayson was appointed as Chapter 11 Examiner in
 8   the above captioned cases.
 9          3.      The Examiner is investigating the nature and extent of the financial affairs and
10   interests in property for the Debtor and Class War, Inc.
11          4.      Property of the estate includes intellectual property, possible avoidance claims;
12   and possible undisclosed assets.
13          5.      Applicant anticipates that the estate will require the assistance of an accountant
14   to conduct his investigation and otherwise perform his duties in the case. In light of the
15   foregoing, Applicant reasonably believes that the bankruptcy estate requires the assistance of
16   an accountant to perform his duties in the case.
17          6.      As provided by Section 327(a) of the Bankruptcy Code, Applicant wishes to
18   employ OoCRB as accountant for the estate.
19          7.      Applicant believes OoCRB is qualified to provide the following services as
20   appropriate and without limitation:
21               a. Provide accounting consulting related services, including review and analysis
22                  of bank, accounting and financial records; advising Applicant regarding
23                  business and/or accounting practices, financial reporting matters, and tax
24                  reporting and compliance matters involving the Debtor and Class War, Inc.;
25                  and, performing other accounting consulting services required by Examiner in
26                  support of the conduct of his investigation and performance of his duties in the
27                  case.
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 1          8.       Applicant desires to employ OoCRB as his accountant under 11 U.S.C. §
 2   327(a), which provides:
 3                Except as otherwise provided in this section, the trustee, with the court’s approval,
 4                may employ one or more attorneys, accountants, appraisers, auctioneers, or other
 5                professional persons, that do not hold or represent an interest adverse to the estate,
 6                and that are disinterested persons, to represent or assist the trustee in carrying out
 7                the trustee’s duties under this title.
 8          9.       Based on the attached declaration, Applicant believes OoCRB is disinterested
 9   within the meaning of 11 U.S.C. § 101(14) on the matters on which it is to be employed.
10          10.      Applicant and OoCRB have mutually agreed to affirmatively waive a written
11   agreement concerning the terms of OoCRB’s employment and, in lieu thereof, this
12   application and the order thereon shall govern the terms of OoCRB’s employment by
13   Applicant.
14          11.      OoCRB has agreed to perform the required services at OoCRB’s customary
15   billing rates which are as follows:
16                Christopher R. Barclay            CPA          $345.00
17                Mary Lou Cunanan                  Para Prof.   $175.00
18          12.      In addition, Applicant has defined the following terms regarding OcCRB’s
19   employment:
20                a. Christopher R. Barclay is the accountant at OoCRB who will be primarily
21                   responsible for the services provided by OoCRB.
22                b. The Estate will be the source of funds for compensating OoCRB for services
23                   and reimbursing OoCRB for expenses.
24                c. Applicant will pay OoCRB from funds of the Estate, for its fees and expenses
25                   for services pursuant to the same terms by which Applicant will pay its other
26                   professionals in the case; that is after notice, application and a hearing.
27          13.      Attached as Exhibit A is a copy of Mr. Barclay’s CV.
28


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 1          14.     Attached as Exhibit B is a copy of the proposed order concerning this
 2   application.
 3          15.     For all of the foregoing reasons, Applicant believes it is in the best interest of
 4   the Estate that the Court approves the employment of OoCRB as accountant to the estate on
 5   the terms and conditions set forth in this application.
 6          16.     WHEREFORE, Applicant requests that she be authorized to employ OoCRB
 7   as accountant to the Estate under 11 U.S.C. § 327(a), effective May 24, 2019.
 8

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10   DATED: June 5, 2019                        Respectfully Submitted,
11

12                                              /s/ Jesse S. Finlayson
13                                              Jesse S. Finlayson, Chapter 11 Examiner
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                     EXHIBIT A
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                                                    10




 Christopher R. Barclay, MA, CPA, ClRA, ASA
 Office of C. R. Barclay, CPA
 5055 N. Harbor Dr, Suite 210
 San Diego, CA 92106

 SUMMARY

 Mr. Barclay is a panel trustee in Southern California and has served as a fiduciary in other roles including
 as court appointed examiner with expanded powers, responsible natural person and disbursing agent. Mr.
 Barclay was appointed as a standing member of the chapter 7 trustee panel in the Southern District of
 California effective January 1, 2012. Before 2012, Mr. Barclay served as a standing member of the
 chapter 7 trustee panel in the Central District of California from 2004 through 2011. He continues to
 serve as chapter 7 trustee in matters pending in the Central District of California for open cases as of
 December 31,2011.

 Mr. Barclay conducts forensic accounting investigations concerning financial reporting and accounting
 practices and provides insolvency related consulting and expert testimony. Mr. Barclay's qualified
 testimony experience includes topics involving the sale of distressed businesses; business plan
 feasibility; valuation; tax consequences; cram-down interest rates; asset tracing and forensic accounting
 investigations.

 Mr. Barclay's industry experience includes real estate, manufacturing, professional services, consumer
 goods and services and agri-business.



 PROFESSIONAL EXPERIENCE

 2011 to Present         Office of C.R. Barclay, CPA


 2006 to 2011            LECG
                         Director

 1992 to 2006                   I
                         Mack Barclay Inc.
                         Shareholder (1994)

 1986 to 1992            Steres Alpert & Carne
                         Senior Manager

 1985 to 1986            Nydam, Scholten & Stewart
                         Senior Accountant

 1982 to 1985            Scott & Gabriel
                         Accountant



 EDUCATION

 Master of Arts, Economics, San Diego State University, 1988
 Bachelor of Arts, Economics, California State University - Fullerton, 1984




                                                                       Exhibit ~ Page 1. 'of 1::.
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  LICENSES & PROFESSIONAL MEMBERSHIPS

  Certified Public Accountant, California 1986
  Certified Insolvency and Restructuring Advisor, AIRA, 1993
  (Zolfo, Cooper Silver Medal Award Recipient, AIRA, 1993)
  Accredited Senior Appraiser, Business Valuation, ASA, 2001
  American Institute of Certified Public Accountants
  California Society of Certified Public Accountant
  American Bankruptcy Institute
  Association of Insolvency and Restructuring Advisors
  California Bankruptcy Forum
  San Diego Bankruptcy Forum
  Inland Empire Bankruptcy Forum
  American Society of Appraisers




                                                               Exhibit ~ Page .1:01 1:..
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                     EXHIBIT B
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CSD 1001A [07/01/18]                                                 10
Name, Address, Telephone No. & I.D. No.

  JESSE S. FINLAYSON, SBN 179443
  jfinlayson@ftrlfirm.com
  15615 Alton Parkway, Suite 250
  Irvine, CA 92618
  Telephone: 949.759.3810
  Facsimile: 949.759.3812


                UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF CALIFORNIA
                   325 West F Street, San Diego, California 92101-6991

  In Re
                                                                                   BANKRUPTCY NO. 18-06044-LT11
  JESSE WAYNE DAWBER, [Jointly Administered with 19-00293-LT11
  CLASS WAR, INC.]                                                                 Date of Hearing: [None Set]
                                                                                   Time of Hearing: [None Set]
  [ x ] Affects both Debtors.                                                      Name of Judge: Hon. Laura S. Taylor
                                                                         Debtor.


                                                                   ORDER ON
                         Ex Parte Application to Employ Office of C.R. Barclay, CPA as Accountant



           The court orders as set forth on the continuation pages attached and numbered 2 through 2 with exhibits, if any,

 for a total of 2 pages. Motion/Application Docket Entry No.              .

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 DATED:
                                                                         Judge, United States Bankruptcy Court
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                                                           10
CSD 1001A [07/01/18]                                                                                       Page 2 of 2

 ORDER ON Ex Parte Application to Employ Office of C.R. Barclay, CPA as Accountant
 DEBTOR: Jesse Wayne Dawber                                                              CASE NO: 18-06044-LT11


   Upon the Ex Parte Application of Jesse S. Finlayson, Chapter 11 Examiner, for authority to employ Office of C. R.
   Barclay, CPA, as provided by 11 U.S.C. §327 and F.R.B.P. 2014; and the Court finding that Office of C. R. Barclay, CPA
   is a disinterested party under 11 U.S.C. §327; further finding no objections being presented by the U.S. Trustee; and
   good cause appearing therefor;

   IT IS HEREBY ORDERED, that the Chapter 7 Trustee shall be, and hereby is, authorized to employ Office of C. R.
   Barclay, CPA at the expense of the estate effective May 24, 2019 pursuant to the terms provided in the Application on
   file with the Court and all fees and costs will be paid pursuant to Court approval.

   IT IS SO ORDERED.




CSD 1001A
